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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 OI EUROPEAN GROUP B.V.,

                       Plaintiff,

        v.
                                                              Case No. 19-cv-290-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,
 et al.,

                       Defendants.

 OI EUROPEAN GROUP B.V.,

                       Plaintiff,

        v.
                                                              Case No. 19-mc-290-LPS
 BOLIVARIAN REPUBLIC OF VENEZUELA,

                       Defendants.

                STIPULATION AND [PROPOSED] ORDER REGARDING
                              TIME TO RESPOND

       IT IS HEREBY STIPULATED by and between (i) Movants Sullivan & Cromwell LLP

and Abrams & Bayliss LLP, (ii) Plaintiff OI European Group B.V. (“OIEG”), by and through its

counsel, and (iii) solely with respect to Case No. 19-cv-290, Defendants GLAS Americas LLC

and MUFG Union Bank, N.A., in their respective capacities as Collateral Agent and Trustee,

under the Indenture dated October 27, 2016, and the Pledge and Security Agreement dated

October 28, 2016, governing Petróleos de Venezuela, S.A’s Senior Secured Notes due 2020, by

and through their counsel, that the time for OIEG, the Collateral Agent, and the Trustee to

respond to the Motions to Withdraw as Counsel for Defendant Bolivarian Republic of
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Venezuela, Case No. 19-cv-290, D.I. 75; Case No. 19-mc-290, D.I. 143, is extended to and

including May 19, 2023.

May 12, 2023

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                                          Trustee, under the Indenture dated October 27,
                                          2016, and the Pledge and Security Agreement
                                          dated October 28, 2016, governing PDVSA’s
                                          Senior Secured Notes due 2020.


                                   IT IS SO ORDERED, this           day of May 2023.



                                                  United States Circuit Judge




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